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IN THE UNITED STATES DISTRICT CoURT ;;_f.¢;

WESTERN DISTRICT OF MISS()URI

 

 

KANSAS CITY MISSoURI
JACKsoN CoUNTY

DoNALD K. ALEXANDER, ) Case number-z //1 / Y" 61/'001/‘?5’ ' HFS

PLAINTIFF, ET, AL )
VS. ) Jurv Trial Requested

CoCHLEAR L1M1TED, and CoCHLEAR )
AMER!CAS, )
I)EFENDANTS. )

CLAIM FOR DAMAGES PURSUANT TO AN UNLAWFUL PRACTICE IN THE
FORM OF FALSE ADVERTISING AND CONSUMER FRAUD PROSCRIBED
BY RSMO 407.020 (1) AND (3) l COUNT ONEl-: AND BREACH OF IMPLIED
WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE SET FORTH IN
RSM() 400.2-315; AND THE UNIF()RM COMMERCIAL CODE SECTION 2-314

|COUNT TWO|

Comes now Plaintitf Donald K. Alexander (hereinafter “Mr Alexander”) and in support

of the above captioned complaint states to the Court:

l. This is an action to recover damages inflicted upon Mr. Alexander by Defendants

pursuant to false advertising3 consumer fraud, and breach of implied warranty of fitness

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for a particular purpose in connection with a sound distorting cochlear implant known to
Defendants to be totally incapable of transmitting coded undistorted sound waves
involving extremely common high and medium high frequency sound waves via a
Cochlear Americas cochlear implant; and further that said Cochlear Americas imp/anr
produces profoundly distorted sound involving telephone, TV, radio, musical recordings,
and live music sound transmissions to the ear or ears implanted with said Cochlear
Americas cochlear implant Such profound sound distortion which is inherent in the
design and manufacturing technology utilized by Defendants was carefully hidden by
Defendants from Mr_ Alexander until he had undergone surgical implanting with
Cochlear Arnericas said coch[ear implani; pursuant to which Cochlear Americas issued
port-surgery information to Mr. Alexander that the sound distortion affects primarily
high and medium sound frequencies common to many individual human voices and to
TV, radio, telephone, sound recordings, musical recordings and live music; and that the
distortion of such sound waves might possibly clear up during a time window scanning
one to three years or more, and by a series of “additionally billed” corrective and
computerized programming sessions and by reading aloud from recommended reading
texts to “train the brain_” Consequently1 Mr. Alexander has suffered unnecessary actual
and compensatory financial damages including physical pain and suffering via said
original surgical implanting because the sound distortion is inherent in the Cochlear
Americas coch[ear implant technology and can only be corrected by removal surgery
involving multiple surgical risks during re-implanting with a competitive cochlear
implant electronic device utilizing technology more advanced than Cochlear Americas'
design and manufacturing technology State tort statutes provide for actual,
compensatory and punitive damages plus court costs and reasonable attorneys1 fees in
connection with physical and financial injuries inflicted pursuant to criminal behavior by

Defendants such as consumer fraud and false advertising

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2_ At all times and dates referred to herein pertaining to Mr. Alexander’s injuries and
financial damages inflicted upon Mr. Alexander by Defendants, Mr. Alexander was a
Missouri Citizen residing in Jackson County, Missouri at 820 East Langsford Road,
Apartrnent 203, Lee’s Summit, Missouri 64063, (8l 6) 600-5203, [dona_lexauder557
@pmail_com]. The damages inflicted upon Mr_ Alexander and described herein were
first suffered in Kansas City, Missouri and continue to be suffered at Mr. Alexander’s

residence

3. During the specific times and dates referred to herein pertaining to the criminal
acts which resulted in said damages inflicted upon Mr. Alexander proscribed by RSMO
407.020 (l) and (3), plus RSMO 400.2-315, Defendant Cochlear Americas was
headquartered at 130 59 East Peakview Avenue, Centennial, Colorado, 80111, telephone
(303) 790-9010, and Mr. Christopher M. Smith was President of the corporation Mr.
Alexander was implanted with said cochlear device at Saint Luke’s Health System doing
business as Saint Lul<e’s Hospital and was located at 4320 Womell Road, Suite 512,
Kansas City, Missouri, 641 ll, telephone (816) 932- 8663; and Jani Johnson was Chief
Executive Officer. Midwest Ear Institute was part of Saint Luke’s Health System and
was located within Saint Luke’s Hospital’s facilities located at 4320 Wornell Road,
Kansas City, Missouri. Cochlear Limited [the parent company for Cochlear Americas]
Was headquartered at l University AvenueJ Macquarie University North Ryde, NSW,
2109, Australia and Chris Smith was listed as Chief Executive Officer (apparently
Christopher M. Smith who was also President of CochlearAmericas).

4. JURISDICTION AND VENUE STATEMENT

Saint Luke’s Hospital where Mr. Alexander was implanted with Cochlear Americas'

cochlear implant is located in Jackson County, Missouri. Mr. Alexander resides in
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Jackson County, Missouri which is within the jurisdiction of the United States District
Couit for the Western District of Missouri, sitting in Kansas City, Missouri_ Because
Defendant Cochlear Americas is located in Colorado, and because Defendant Cochlear
Limited is located in Australia, this suit is brought pursuant to diversity jurisdiction as
provided by 28 U.S.C. Section 1332 and the amount in controversy is well in excess of
$75,000.00_ Therefore, the U.S. District Court sitting in Kansas City, Missouri has
jurisdiction over Defendants Cochlear Limited and Cochlear Americas as well as Mr.

Alexander.

5. F acts of this civil suit pertaining to both count one and count two:

Cochlear Americas Corporation via interstate commerce markets implantable cochlear
devices manufactured by parent corporation (Cochlear Limited, headquartered in
Aastralia). The device is implanted by a surgical incision behind the implanted ear,
laying the scalp back, surgically creating a nest over a small hole in the skull through
which electronics are threaded into the cochlea; closing the scalp flap and the surgical
incisions, suturing the incision behind the ear; and a sound processor which hangs
behind the implanted ear transmits electronically coded sound waves to the implanted
ear cochlea and auditory nerve. The sound processor has a round magnet which matches
up with a magnet in the scalp nest to facilitate the coded sound wave transmissions to
the implant electrodes Cochlear Americas Corporation does not in marketing brochures
nor during pre-surgery sales pitch nor on their websites caution potential recipients of
said implants that sound distortion is a potential problem with the implants regardless of
implant programming and fine tuning scheduled over a calendar quarter or more. The
distortion problem is hidden by Cochlear Americas from potential recipients of
Cochlear Americas‘ cochlear implant Only after surgical implanting does the recipient

discover the profound sound distortion defect and only then is informed by the attending

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audiologist that the distortion will perhaps eventually clear up pursuant to programming
corrections and reading aloud from written selections recommended by the audiologist
to “train the brain ” Midwest Ear lnstitute which is a part of Saint Luke’s Health
System (where Plaintiff was implanted with the Cochlear Arnerica’s said implant) is
aware of the distortion problem but does not warn recipients of Cochlear Americas'
cochlear implant until after the device has been surgically implanted Victim Alexander
had zero knowledge of any of the foregoing fraudulent and illegal business practices on
the part of Cochlear Limited and Cochlear Americas until after being implanted as

described herein on December 30, 2015 and the suij‘acing of the distortion defect

6_ Victim Alexander was implanted with said Cochlear Americas cochlear device
(Cochlear Nucleus C1522 implant serviced by either Nucleus CP910 or CP920 Sound
Processor, and either Nucleus CR210 or CR230 Remote Control) at Midwest Ear
lnstitute, an operating division of Saint Luke's Health System in Kansas City, Missouri
on December 30, 2015 followed by a half dozen or so programming and fine tuning
session conducted by Midwest Ear Institute audiologist Morgan C. Nelson. Midwest Ear
lnstitute is located at 4320 Wornell Road, Suite 420, Kansas City, Missouri 64111. The
surgeon who implanted the device is Dr. Joseph Ursick. Victim Alexander was
personally billed approximately $85,000.00 for the cochlear implant and accessories
including surgical, nursing and hospital medical expenses; plus additional billings for
post surgery programming sessions Victim Alexander is going to have the sound
distorting Cochlear Americas' cochlear implant removed and undergo Mh£_
itnplanting surge@ involving a competitive cochlear implant which utilizes a more
modern and technologically superior design and manufacturing process thereby being
subjected to more pain and suffering, more risks of surgical complications, infection,

and emotional trauma plus surgical, hospital, nursing and implant hardware expenses

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7 . Victim Alexander pursuant to said implanting of said Cochlear Americas‘ cochlear
implant has suffered permanent numbness of his left ear rim in addition to said sound
wave distortion which is now permanent and renders said cochlear implant device no

more effective than a fifty dollar sound distorted amplifier.

8. But for the above detailed fraudulent marketing and false advertising, Victim
Alexander would never have agreed to said implanting and therefore would not have
undergone unnecessary surgical pain and suffering connected with said cochlear
implanting nor the permanent numbness of his left ear rim nor the surgical and hospital
and cochlear device financial expenses, nor surgical removal risks, nor the inability to
hear by telephone or to hear electronically generated sounds such as TV, radio, and

sound recordings

9. Mr. Alexander, having been knowingly, intentionally, and willfully on December
30, 2015 implanted with a Cochlear Americas sound distorting cochlear implant known
to Defendants (but concealed from Mr. Alexander by Defendants) to be sound distorting
has suffered actual monetary damages in the minimum amount of $85,000.00 plus
substantial physical damages Mr. Alexander's said financial and physical damages are
the direct and proximate result of the criminal behavior (false advertising and consumer
fraud) on the part of Defendants as set forth above. But for said criminal acts on the part
of Defendants, Mr. Alexander would not have been implanted with said sound distorting
cochlear implant and thus would not have suffered the above described financial and

physical damages

10. The Missouri statutory law pertaining to Mr. Alexander‘s claim which Mr. Alexander

relies upon states:

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Deceptive trade practices in the state are dealt under Chapter 407 and 570 of the
Missouri Statutes_ Chapter 407 deals with ‘merchandising practices’ and 570 with
‘stealing and related offences. ’ Section 407. 020 makes false advertisements an unlawful
practice and persons who willfully engage in such acts will be guilty of a Class D
felony Pursuant to RSMo Section 407. 025, any individual consumer who has suffered
loss or damage, may bring an action against another person for use or employment of
deceptive practices prohibited in the Chapter ln such actions, the Court may award
punitive damages and proper equitable relief T he prevailing party may be awarded
attorney fees

Unlawfnl practices, penalty

l . T he act, use or employment by any person of any deception, fraud, false pretense
false promise, misrepresentation unfair practice or the concealment suppression or
omission of any material fact in connection with the sale or advertisement of any
merchandise in trade or commerce or the solicitation of any funds for any charitable
purpose, as defined in RSMO Section 407.453, in or from the state of Missouri, is
declared to be an unlawful practice T he use by any person, in connection with the sale
or advertisement of any merchandise in trade or commerce or the solicitation of any
funds for any charitable purpose, as dejined in section 407.453, in or from the state of
Missouri or the fact that the attorney general has approved any filing required by this
chapter as the approval sanction or endorsement of any activity, project or action of
such person, is declared to be an unlawful practice Any act, use or employment
declared unlawful by this subsection violates this subsection whether committed beforel _

during or after the sale, advertisement or solicitation

3. Any person who willfully and knowingly engages in any act, use, employment or_

practice declared to be unlawful by this section with the intent to defraud shall be guilty

of a class D felony

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§ 407.025 R.S.Mo.
Civil action to recover damages

1_ Any person who purchases or leases merchandise primarily for personal, family or
household purposes and thereby suffers an ascertainable loss of money or property, real
or personal, as a result of the use or employment by another person of a method, act or
practice declared unlawful by section 407.020, may bring a private civil action in either
the circuit court of the county in which the seller or lessor resides or in which the
transaction complained of took place, to recover actual damages The court may, in its
discretion, award punitive damages and may award to the prevailing party attorney’s
fees, based on the amount of time reasonably expended, and may provide such equitable

relief as it deems necessary or proper
False advertising § 407.020 (1) and (3) R.S.Mo.

1. A person commits the crime of false advertising if in connection with the promotion
of the sale of or to increase the consumption of, property or services, he recklessly
makes or causes to be made a false or misleading statement in any advertisement

addressed to the public or to a substantial number of personsl

2. False advertising is a class A misdemeanor

WHEREFORE, Mr. Alexander respectfully prays this Honorable Court to enter
judgment against Defendants jointly and severally; and for an award of actual damages
in the amount of $85,000.00 (eighty-five thousand dollars) plus costs of suit, and
reasonable attorneys’ fees as authorized by RSMo 407.025 and the Constitution of
Missouri, Article 1, Section 32 (4). PlaintilfAlexander further prays this Honorable
Court for an award of compensatory damages in the amount of $750,000.00 (seven

hundred and fifty thousand dollars) to compensate Mr. Alexander for the above detailed

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physical, emotional and future financial damages In addition, because said criminal
violation of RSMo 407.020 (1) and (3) on the part of Cochlear Americas as described
herein was knowing, intentional, and reckless, Plaintiff further prays this Honorable
Court for an award of punitive damages to Mr. Alexander in proportion to Defendant
Cochlear America’s wealth and in sufficient amount to dissuade others similarly situated
from like conduct; and for such other and further relief as the Court deems just and

proper

ll_ COUNT TWO: PRODUCT LIABILITY lN TANDEM WlTH BREACH OF
IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE UNDER
SECTlON 2-314 OF THE UN]FORM COll/Ul/IERCIAL CODE and RSMO Section
400 2-3 l 5

Plaintiff Alexander hereby incorporates into this Count two each and every statement
contained in the above headings, sentences and paragraphs within count one thereby
making such narrative a necessary part of this Count Two. Missouri law relevant to

count two is:

lmplied warranty-jitness for particular purpose R_SMo Section 400.2-315. Where the
seller at the time of contracting has reason to know any particular purpose for which
the goods are required and that the buyer is relying on the seller's skill or judgment to
select or furnish suitable goods, there is unless excluded or modified under section

400.2-316 an implied warranty that the goods shall be fit for such purpose

12. lt is well established Missouri law and the civil law history of the Uniform
Comm ercial Code case law that manufacturers and suppliers of products marketed via

lnterstate Commerce to Missouri citizens and the citizens of other states are required to

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stand behind implied warranties of fitness for a particular purpose and most certainly to
reimburse said citizens for products which breach said implied warranty and especially
as pertaining to fraudulent medical devices Butfor reliance upon such well established
Missouri law, Plaintiff Alexander would never have agreed to purchase said Cochlear
Limited and Cochlear Americas' cochlear implant nor have his head and ear surgically
altered during said implanting procedures lt is also well established statutory and case
law in every state that manufacturers and suppliers of fraudulent medical devices are
required to reimburse United States citizens for physical and emotional damages

inflicted upon them by fraudulent medical devices

13. Should this Honorable Court and/or the jury not hud Defendants guilty under
count one as detailed above, PlaintiffAlexander, in the alternative, prays this Honorable
Court for an award of actual damages under this count two in the amount of eighty-five
thousand dollars ($85,000.00) and for compensatory damages in the amount of seven

hundred and fifty thousand dollars ($750,000_00).

WHEREFORE, in view of the allegations stated herein and all of the foregoing
facts supporting said allegations, Plaint.iffAlexander prays this Honorable Court for
judgment against Defendants, jointly and severally under this count two, and for an
award of actual damages in the amount of eighty-five thousand dollars ($85,000.00) and
for compensatory damages in the amount of seven hundred and fifty thousand dollars
($750,000.00); and for such further and additional relief as this Honorable Court shall

deem just and proper

Respectfully submitted,

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/s /=_@EM/u %%Maei, guam

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